Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 1 of 15 PagelD 19

GIVENS
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SPARKS

November 7, 2016

New Port Richey Police Department
Attn: Records Department

6739 Adams St.

New Port Richey, FL 34652

Re: Our Client: Pedro Perez
Location: Massachusetts Avenue
Date of Incident: October 1, 2016
Dear Sir or Madam:

Our firm represents Pedro Perez regarding the above-referenced incident.
Please accept this correspondence as our request for the CAD call report for all calls
handled by the New Port Richey Police Department in the 5900 block of Massachusetts
Avenue from 9:00 p.m. on October 1, 2016 to 12:00 a.m. on October 2, 2016.

| have enclosed a self-addressed, stamped envelope for your convenience in
mailing the documents to me. Should you require payment for providing the requested
information to our office, please contact me and advise me of same.

If you have any questions or need additional information, please feel free to
contact me. Thank you for your assistance with this matter.

Sincerely,

Chusipha J Celléng
Christopher D. Codling

Enclosure

 

201 North Franklin Street, Suite 1700, Tampa, FL 33602
Mailing Address: P.O, Box 2604, Tampa, FL 33601

Tel. (800) 716-6206 (813) 251-6700 Fax (81g) 251-4542
Email: ccodling@givenssparks.com

Email: cheryl@givenssparks.com

EXHIBIT wivw.givenssparks.com

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Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 2 of 15 PagelID 20

IN THE COUNTY COURT FOR THE SIXTH JUDICIAL CIRCUIT
OF FLORIDA IN AND FOR PASCO COUNTY

“330 SUMMONS RETURWARDS “5%.
STATE OF FLORIDA

Arraignment nomersnomamnontott Suet
VS. MISDEMEANOR INFORMATION _

CTc 16- S192 mmAWS- 15
PEDRO PEREZ OBSTRUCTING OR RESISTING
SPN 0074434

OFFICER WITHOUT VIOLENCE, 1°M
H/M; DOB: 09/19/88 .

IN THE NAME AND BY THE AUTHORITY FOR THE STATE OF FLORIDA:

BERNIE McCABE, State Attorney for the Sixth Judicial Circuit of
Florida,

in and for Pasco County, prosecuting for the State of
Florida, in the said County, under oath, Information makes that

PEDRO PEREZ ©

in the County of Pasco and State of Florida,
October,

in the year of our Lord,

on the 2nd day of
knowingly resist,

two thousand sixteen, did
obstruct or oppose Anthony Kasperitis, a law
enforcement officer of the New: Port ‘Richey Police Department,
Pasco County, Florida, while in the lawful execution of a legal
duty, which consisted of criminal investigation, without offering
to do violence to the--person of the officer, to-wit: refusing
lawful command; contrary to Chapter 843.02, Florida Statutes, and
against the peace and dignity of the State of Florida. [5B]

STATE OF FLORIDA a. cou
PASCO COUNTY: ;

epesone ity appeared: before me BERNIE McCABE; the undersigned State Attorney for the
Sixth Judicial Circuit of Florida, in and for Pasco County, or his duly designated
Assistant State Attorney, who being first duly sworn,

says this information is
filed in good faith in instituting this prosecution.

  
 
 
 

The foregoing instrument was acknowledged before me
this

day of : 8 2016
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> MW who did take an oath. Judici

Prosecuting
af NP16-003609 M16-01133-17 0C/1031tn24°

  
  

   

ttorney ror ixth
of the State of Florida,

 

     

 

 

 

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BPP, KRISTEN MULUNS
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‘ res July 19, 2020 @
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EXHIBIT

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Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 3 of 15 PagelD 21

 

INCIDENT DETAIL REPORT

RESIST OFFICER, OBSTRUCTING WITHOUT VIOLENCE

Agency : NEW PORT RIGHEY POLICE DEPARTMENT

Phone : (727) 841-4550

Address : 6739 ADAMS ST, NEW PORT RICHEY FL 34652

Incident # : 16-03609

 

[DESCRIPTION Sea eam
Call For Service #: 101296
Other #:

 

UCR Disposition : NON-UGR

 

Disposition : ACTIVE/REFERRED TO SAO

CREE Sp EN
Occurence Date : 10/02/2016 00:11
Solvability Points : .

Total Damage : $0.00

Begin Date/Time : 10/02/2016 00:11
End Date/Time ; 10/02/2046 00:11
Date Reported : 10/02/2016

UCR Disposition Date ; 10/02/2016

 

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"ANTHONY KASPERITIS. =

 

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Name: KASPERITIS, S.ANTHONY

   

Eee
NCIC Code :

ea Voaton

RESIST OFFICER, OBSTRUCTING WITHOUT VIOLENCE

  
     

IBR Code: UCR Code: 262

 

 

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=a RES: oe
Location Type : Incident Address: 5945 MASSACHUSETTS AVE
Place Name ; . PASCO COUNTY FL
CNN (ERS se Sea PLE ee TIS
Involvement : “SUSPECT. —— Sex: M :
LastName: PEREZ , “Birth Date : oi19/1988
First Name :. PEDRO Eye Color: BRO Primary: (727) 834-1314
MI: ROLANDO Hair Color; BLK
Suffix: - Hair Length: Sht Cell: (727) 834-1314
Race; WHITE ; “Height: 540"
Ethnicity: UNKNOWN . Weight: 200 Ibs,
Address: 5920 SUNGLOW LAND, PORT RICHEY, FL |
34668

  

   
   

    

 

 

 

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Incident Page 1 of 3

 

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“4
INCIDENT DETAIL REPORT
RESIST OFFICER, OBSTRUCTING WITHOUT VIOLENCE |
Agency : NEW PORT RICHEY POLICE DEPARTMENT . ', "Incident #: 16-03609

Phone ; (727) 841-4550

Address : 6739 ADAMS ST, NEW PORT RICHEY FL 34652

FINCIDENTNARRATIVE)
On October 2nd, 2016 over the radio- Officer . suit with a whi

dodge charger that was‘fleeing from: his marked patrol:unit:-Officer Donohue. advised that the vehicle was heading ¥ west

on Massachuseti Ave When thé-vehicle attempted {6 tum and ctashed inté'a- ‘parked veljicle at a business. While lng

up on.scene over the radio] was advised that three niales exited the wehidle and fled on foot heading-east i into a*

residential aréa. “Whilé running towards the vehicle]. observed a.man-in a black tee shirt, sheading;in the Airection | that the.

__| | _men that just Hed from Officers were heading While rurining towatd: ‘the'male. in'my agency marked uniform I started to

give loud: and clear commands for the ek to. ‘eet on stein The’ wiale coritinued towalk, ‘Way ‘fonj:the ‘vehicle not

lt

 

   
   

 

and Sasach commands to get on the ground. .

-, When 1 ¢ escorted the.male.t to the ground, ] started to give gamma for, the male t to alate his hands, behind his
back. The thale didnot comply with my lawfully commands and inan attempt to obstruct m me ‘from gaining ¢ Conitral ‘afi his
hands the male started to thrust his body back and forth. Officer Valente Was th the second Officer on scene and ais eisted
with me gaining contrél of the males’ arms. ‘Officer F Valérite gained a a dominate Position on the tifales back swe-were able
to gain contiol of thé males right Wrist and place a handcuff ont: Whei thermeles right’ wrist was'restrained tt the male
took his 1éf hand and shoved it’below his body ind | Pabiticn’ where We'cdild.fidt obtain: his-hand. While attempting to
gain control of the males arm, he attempted to thrust his head back and forth towards Officer ‘Valente, while doing this I
was able to use, a a pressure point on thé ‘males rin and gain coiftral of the ent ‘| placed his right wrist into a handcuff
and started to Search the’ rian: for. any, weapons. :

Officer Donchue arrived on.scene with another: inale that fled from the kicis, Officer Donchue stayed with
both males while Tatfernptéd to. apprehended the other male that fled from the vehicle. The other male was found
walking west on Massachusetts Ave back towards where the crash occurred. | returned to officer Donhoue and placed
the male that I handcufféd into the back of} my patrol car. While escorting the male fo the back of the vehicle, 1
observed some blood on the ground where the male was fighting with us. The male stated that he had been kicked in
the face by one of the Officérs. ] observed that the male had blood coming from his mouth and informed the supervisor
on scene. While the male was in the back of my vehicle he provided me with his name and date of birth. The male
identified himself as Pedro Perez and informed me that his date of birth was 09/19/1988. I had-dispatch conducted an
F.C.L.C/N.C.1.C check for an active warrants, Dispatch advised me that Pedro had no active warrants and had a valid
Florida ID card, Pedro was read his rights and advised that he was being placed under arrest for obstruction. I asked
Pedro if he knew why his friends fled from Police he advised me that he did not know. Pedro stated that they just

 

picked-him-up-so-they-could-ge-out-to-the-grand-opening-of the strip.clubDesire
While speaking with Pedro he advised me that he was still ina lot of pain and blood could still be observed in
his mouth. I was advised to transport Pedro to the hospital for any injuries he may have sustained from the crash, or the
struggled that happen while attempting to handcuff Pedro. Pedro was transported to Northbay Hospital, and due to the
.| injuries that Pedro sustained was admitted into the hospital. Due to the injuries that Pedro sustained, I advised Pedro
that I would be referring charger of Obstructing Police to the State Attomeys Office. I advised that due to his current
health situation I would not take him to the jail when he is need of current medical attention. Pedro advised that he
understood that he would being getting a letter in the mail to the address that he provided me with. Pedro stated that he
knew if he did not attend the court date that a warrant for his arrest would be issued.
Photos were taken of the injuries that Pedro sustained. I gathered all the needed information for the charges to
| be refereed to the State Attorney's Office. Pedro was left in the care and custody of the medical staff at Northbay

 

 

 

 

 

Printed: 20/17/2016 9:39:00 AM » Narrative Page 1 of 2 ‘ Incident Page 2 of 3

 
Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 5 of 15 PagelD 23

IN THE COUNTY COURT OF THE SIXTH JUDICIAL
CIRCUIT IN AND FOR PASCO COUNTY, FLORIDA

MISDEMEANOR DIVISION
CASE NO.: 2016-MM-008192MMAXWS
STATE OF FLORIDA,
VS.

PEDRO PEREZ,

Defendant.
/

DEFENDANT’S MOTION TO DISMISS THE INFORMATION FOR RESISTING
ARREST WITHOUT VIOLENCE AND INCORPORATED MEMORANDUM OF LAW

COMES NOW, the Defendant, PEDRO PEREZ, by and through his undersigned
attorneys, and respectfully moves this Honorable Court to dismiss the Information
charging him with one count of resisting arrest without violence, pursuant Rule
3.190(c)(4), Fla. R. Crim. P., and as grounds therefor would state as follows:

UNDISPUTED FOR FACTS

1. On or about October 2, 2016, Defendant, PEDRO PEREZ, was the front
seat passenger in a white 2016 Dodge Charger that was being driven by a black male
and also occupied by another Hispanic male who was in the back seat.

2. After observing the three males enter the vehicle after exiting a
convenience store, Officer Ed Donohue, a police officer with the New Port Richey Police

Department, attempted to conduct a traffic stop on the driver of the vehicle.

3. The driver of the vehicle failed to stop and began to flee from Officer
Donohue.
State of Florida v. Pedro Perez ‘ 568
; -MM-008192MMAXWS age 10
Case No.: 2016-MM-00 EXHIBIT

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Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 6 of 15 PagelID 24

4, The driver of the vehicle eventually stopped after he crashed his vehicle
into another parked vehicle.

5. After the driver crashed the vehicle, Officer Anthony Kasperitis, also with
the New Port Richey Police Department, assisted Officer Donohue with detaining the
occupants of the vehicle.

6. According to Officer Kasperitis, he observed the three occupants of the
vehicle flee on foot after they exited the vehicle.

7. Further, Officer Kasperitis alleges that while running towards Mr. Perez, in
his agency marked uniformed, he gave Mr. Perez loud and clear commands to get on
the ground, but Mr. Perez continued to walk away from the vehicle and failed to comply
with his lawful commands.

8. Officer Kasperitis states that he was finally able to catch up to Mr. Perez
and gain control of Mr. Perez’s right arm and the back of his belt before taking Mr.
Perez to the ground and detaining him.

9. After Officer Kasperitis handcuffed and detained Mr. Perez, Officer
Kasperitis stated that he observed blood on the ground where he took Mr. Perez into
custody, that Mr. Perez was in pain and that Mr. Perez was bleeding from the mouth.

10. After Officer Kasperitis took Mr. Perez into custody, Mr. Perez was
transported to Morton Plant Northbay Hospital due to his injuries.

11. | While at Morton Plant Northbay Hospital, it was discovered that Mr. Perez
had suffered a broken jaw that required surgical intervention to repair as a result of

being taken into custody by Officer Kasperitis.

State of Florida v. Pedro Perez
Case No.: 2016-MM-008192MMAXWS Page 2 of 8
Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 7 of 15 PagelD 25

MEMORANDUM OF LAW

 

A. Standard of Review for a Motion to Dismiss Pursuant to Rule 3.190(c)(4),
Florida Rules of Criminal Procedure.

12. The purpose of Rule 3.190(c)(4), Fla. R. Crim. P. is to avoid a trial in a
criminal case when there are no material facts genuinely at issue. State v.
Kalogeropolous, 758 So. 2d 110, 111 (Fla. 2000).

13. Pursuant to Rule 3.190(c)(4), a defendant may seek dismissal where
“[t]here are no material disputed facts and the undisputed facts do not establish a prima
facie case of guilt.” Fla. R. Crim. P. 3.190(c)(4).

14. Further, “it is the defendant's burden to demonstrate that no prima facie
case exists upon the undisputed facts set forth in detail in the motion.” State v. Cadore,
59 So. 3d 1200, 1202 (Fla. 2d DCA 2011) (citing Kalogeropolous, 758 So.2d at 111).

15. If the State responds to a motion to dismiss with a traverse admitting the
material facts and adding new facts of its own, then the question for the trial court is
whether the State can show that the undisputed facts make out a prima facie case of
the defendant's guilt. See State v. Dickerson, 811 So. 2d 744, 746 (Fla. 2d DCA
2002); see also Fla. R. Crim. P. 3.190(d).

16. In assessing whether there is a prima facie case of guilt set forth on the
facts presented, the evidence must be taken in the light most favorable to the State,
with all inferences resolved against the defendant. State v. Pasko, 815 So. 2d 680, 681
(Fla. 2d DCA 2002).

17. Where the most favorable construction of the facts sets forth in the motion

and traverse fails to establish a prima facie case of guilt then a rule 3.190(c)(4) motion

State of Florida v. Pedro Perez
Case No.: 2016-MM-008192MMAXWS Page 3 of 8
Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 8 of 15 PagelD 26

should be granted. Pasko, 815 So. 2d at 681 (quoting State v. Hunwick, 446 So. 2d
214, 215-16 (Fla. 4th DCA 1984)).

B. Les Police Did Not Have the Requisite Authority to Stop or Detain Pedro
erez,

18. To justify a stop or any other temporary detention, a police officer must
have a founded reasonable suspicion that a person has committed, is committing, or is
about to commit a crime. Brown v. State, 636 So. 2d 174 (Fla. 2nd DCA 1994); Nealy v.
State, 652 So. 2d 1175 (Fla. 2nd DCA 1995); Mayhue v. State, 659 So. 2d 417 (Fla.
2nd DCA 1995).

19. More importantly, in order for the suspicion to be founded, it must “have
some factual foundation in the circumstances observed by the officer when those
circumstances are interpreted in light of the officer's knowledge.” Brown v. State,
636 So. 2d at 175; Nealy v. State, 652 So. 2d at 1176; Mayhue v. State, 659 So. 2d at
418.

20. An investigatory stop cannot be based upon mere or bare suspicion of
criminal activity. Brown, 636 So.2d at 175

21. Furthermore, “a hunch, even based upon an officer's experience, cannot
be the basis for an investigatory stop.” Nealy at 1176.

22. InE.AB v. State, the Second District Court of Appeal held:

In order to prove that a defendant is guilty of unlawfully
obstructing an officer without violence, the state must
establish that the defendant fled with knowledge of the
officer's intent to detain him and the officer was justified in
making the detention due to his founded suspicion that the
defendant was engaged in criminal activity.

E.A.B. v. State, 964 So. 2d 877, 878 (Fla. 2d DCA 2007)(emphasis in original).

ida v. Pedro Perez
Case No.: 2016-MM-008192MMAXWS Page 4 of 8
Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 9 of 15 PagelD 27

23. Interestingly, the facts of E.A.B. are very similar to the facts of the present

 

case at bar. In E.A.B., a deputy with the Hillsborough County Sheriffs Office observed

 

the driver of vehicle at the location of an intersection where he had responded to
investigate a stolen vehicle. /d. When the deputy activated his lights and siren to make a
traffic stop the driver of the vehicle left the scene. /d. The deputy followed the vehicle at
a high rate of speed and eventually caught up to the vehicle when the driver stopped at
the end of a dead end road. /d. As the deputy approached the vehicle both the driver
and passenger exited the vehicle and ran off after the deputy ordered them to stop. /d.
At short time after fleeing the vehicle, the passenger, E.A.B., was apprehended by
another deputy. /d. At the conclusion of the deputy’s testimony, defense counsel moved
for a dismissal of the charge. /d. Defense counsel's argument was “the State had failed
to show that the deputy was engaged in the lawful execution of a legal duty because the
deputy lacked a reasonable basis for believing that E.A.B. was involved in criminal
activity.” /d. The trial court rejected this argument and found E.A.B delinquent. /d.
24. The E.A.B. Court, in reversing the trial court's denial of the motion to

dismiss, stated:

The element of lawful execution of a legal duty is satisfied if

an officer has wither a founded suspicion to stop the person

or probable cause to make a warrantless arrest. Therefore,

E.A.B’s delinquency adjudication can stand only if Deputy

Morales had a particularized and objective basis for

suspecting that E.A.B. was involved in criminal activity.
Id. at 878.
25. The E.A.B. Court found “[nJothing in the scenario described by the deputy
gave him an objective basis for suspecting E.A.B. of criminality. Id. at 879.

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Case No.: 2016-MM-008192MMAXWS Page 5 of 8
Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 10 of 15 PagelD 28

26. Furthermore, the E.A.B. Court noted “[t]he failure of the car to stop when

 

first directed to do so could not be attributed to E.A.B. because he was not driving it. /d.
See also, D.M. v. State, 681 So. 2d 797 (Fla. 2d DCA 1996)(The court reversed a
conviction for obstruction without violence after the defendant, a passenger in a car that
fled after running a red light and almost hitting a police car, ran from an officer because
as the court held “the officer lacked a founded suspicion to conclude that the passenger
was engaged in criminal activity.”); J.R.P. v. State, 942 So. 2d 452, 454 (Fla. 2d DCA
2006)(Court reversed an obstruction adjudication under similar facts, “the police may
have had a basis to stop the drivers, but the passengers had the right to leave in the
absence of a well-founded, articulable suspicion that they were involved in criminal
activity."); J.D.H v. State, 967 So. 2d 1128, 1130 (Fla. 2d DCA 2007)("[Bjecause J.D.H.
fled from officers who had no legal right to detain him, he could not have been lawfully
arrested for resisting an officer without violence.”); T.H. v. State, 554 So. 2d 589, 590
(Fla. 3d DCA 1989) (Court also reversed a delinquency adjudication for resisting without
violence, holding “absent objective proof of actions by a passenger which evidences
some substantial involvement in the driver’s actions, a mere passenger cannot be held
responsible for the actions of the driver of the vehicle’).

27. In this case, just like all the previously cited cases herein, there is no
evidence that Mr. Perez was committing any crime or was about to commit any crime,
therefore, Officer Kasperitis could not be in the lawful execution of a legal duty when he
unlawfully detained Mr. Perez.

28. More importantly, just like the holdings in E.A.B. v. State, D.M._ v. State,

J.R.P. v. State, J.D.H. v. State and T.H. v. State, if Officer Kasperitis did not have a

SS _

State of Florida v. Pedro Perez
Case No.: 2016-MM-008192MMAXWS Page 6 of 8

 
Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 11 of 15 PagelD 29

founded suspicion to conclude that Mr. Perez was engaged in criminal activity then not
only could he not legally detain him, but he could not lawfully arrest Mr. Perez for the
offense of Resisting Arrest Without Violence either.

29. Therefore, as a matter of law, this Honorable Court must dismiss the
Information charging Mr. Perez with one count of Resisting Arrest Without Violence.
See E.A.B. at. 880 (“Because the deputy lacked a reasonable suspicion to believe that
E.A.B. was engaged in criminal activity, the deputy was not lawfully executing a legal
duty when he ordered E.A.B. to stop. Therefore, E.A.B. could not be guilty of obstruction
when he fled in defiance of the deputy’s order.”).

WHEREFORE, the defendant, PEDRO PEREZ, prays that this Honorable Court
will enter an Order dismissing the Information charging him with one count of resisting
arrest without violence and granting any and all such other and further relief as the
Court may deem proper.

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that a true and correct copy of the foregoing has been sent

via email to: Lawrence Imburgia, Esquire and Matthew Garcia, Esquire, Office of the

State Attorney, P.O. Box 5028, Clearwater, Florida 33758; on this the Br day of May,

 
 
  

2018.

 

RISTGPHER D. CODLING, ESQUIRE
lorida Bar No.: 794651

ROBERT D. SPARKS, ESQUIRE

Florida Bar No.: 016258

GIVENS GIVENS SPARKS, PLLC
P.O. Box 2604

Tampa, Florida 33601

Telephone: (813) 251-6700

   

State of Florida v. Pedro Perez
Case No.: 2016-MM-008192MMAXWS Page 7 of 8
Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 12 of 15 PagelD 30

State of Florida v. Pedro Perez
Case No.: 2016-MM-008192MMAXWS

Toll free: (800) 716-6206
Facsimile: (813) 251-4542

Email: ccodling@givenssparks.com
Email: rsparks@gvenssparks.com
Email: cheryl@givenssparks.com

Attorneys for the Defendant

Page 8 of 8
Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 130f15PagelD31 —~

IN THE COUNTY COURT OF THE
SIXTH JUDICIAL CIRCUIT

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IN AND FOR PASCO COUNTY, FLORIDA o wm &
MISDEMEANOR DIVISION ee. SB oe
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CASE NO.: 2016-MM-008192MMAXWS Ses = Ga
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STATE OF FLORIDA, Sas Se eo
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v. [a= 7 oS
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coun arvsll! ——
PEDRO PEREZ, *
Defendant.
|
ORDER

 

THIS CAUSE, having come before the Court on May 24, 2018, on Defendant's
Motion to Dismiss the Information charging him with Resisting Arrest Without Violence,,
and the Court having reviewed the motion, having reviewed the Court's file, having
heard the arguments of the parties and being otherwise fully advised in the premises, it
is therefore

ORDERED AND ADJUDGED:

Lf a. The Defendant's Motion to Dismiss is hereby GRANTED.

___b. The Defendant's Motion to Dismiss is hereby DENIED

DONE AND ORDERED in Chambers at New Port Richey, Pasco County, FL, on

this the 3 Oday of May, 2018.

 

HONORABLE ANNE WANSBORO
CIRCUIT JUDGE

cc: Christopher D. Codling, Esquire
Lawrence Imburgia, Esquire

State of Florida v. Pedro Perez EXHIBIT

Case No.: 2016-MM-008192MMAXWS j | Page 1 of 1
Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 14 of 15 PagelD 32

NOT FINAL UNTIL TIME EXPIRES FOR REHEARING AND, IF FILED, DETERMINED

IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
- OF THE STATE OF FLORIDA, IN AND FOR PASCO COUNTY

 

     
  
 

APPELLATE DIVISION
STATE OF FLORIDA,
Appellant, UCN: 512018AP000032APAXWS
Appeal No.: 18-AP-32
v. | Lower No.: 16-IMM-8192
PEDRO ROLANDO PEREZ,
Appellee.
I
On appeal from Pasco County Court, |
Honorable Anne Wansboro bs ng (CUS
ea = 42
Lawrence Imburgia, BPs S BE
Assistant State Attorney, Saf B ge
for Appellant, Saf 1 3d
; \  & g a S |
Christopher D. Codling, Esq. abe E XR
~“ a pl
for Appellee. 282 @ 59
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BS 2 5 0
PER CURIAM =
Affirmed.
DONE AND ORDERED in Chambers at New Port Richey, Pascg’Zounty, Florida

tie) day of Rrra , 2019.

DANIEL D. DJSK'
Circuit Judge,

 

  

=

L BABB
Circuit Judge, Appellate Division

Circuit Judge, Appellate Division

Copies to:
Honorable Anne Wansboro

Joseph Manzo, Esq.
50 8 Avenue Southwest
Largo, FL 33779-0658

Office of the State Attorney
EXHIBIT

Staff Attorney” - : 5

 
Case 8:20-cv-02249-SDM-AEP Document 1-1 Filed 09/25/20 Page 15 of 15 PagelD 33

NOT FINAL UNTIL TIME EXPIRES FOR REHEARING AND, IF FILED, DETERMINED

IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
OF THE STATE OF FLORIDA, IN AND FOR PASCO COUNTY

APPELLATE DIVISION
STATE OF FLORIDA,
Appellant, UCN: 512018AP000032APAXWS
Appeal No.: 18-AP-32
Vv. Lower No.: 16-MM-8192
PEDRO ROLANDO PEREZ,
Appellee.

On appeal from Pasco County Court,
Honorable Anne Wansboro

Lawrence Imburgia,
Assistant State Attorney,
for Appellant,

Christopher D. Codling, Esq.,
for Appellee.

AMENDED ORDER
The previous Order and Opinion issued February 4, 2019 Per Curiam Affirming
the trial court's order is hereby AMENDED as follows as to the “Copies to” section:
replacing “Joseph Manzo, Esq., 50 8th Avenue Southwest, Largo, FL 33779-0658" with
“Christopher D. Codling, Esq., Givens Givens Sparks, PLLC, P.O. Box 2604, Tampa, FL
33601-2604.” In all other respects, the order of the Court is unaltered.
~DONE AND ORDERED in Chambers at New Port Richey, Pasco County, Florida

 

this____s day of , 2019.
ORIGINAL SIGNED
FEB ¥5 2018
DANIEL D. DISKEY
ones to: Circuit Judge, ABBRIE OCHRE

Honorable Anne Wansboro

/Ehristopher D. Codling, Esq.
Givens Givens Sparks, PLLC
P.O. Box 2604
Tampa, FL 33601-2604

Office of the State Attorney

Staff Attorney
